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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )                    4:06CR3016
                                                  )
               v.                                 )
                                                  )
ARMANDO GARCIA-DELACRUZ,                          )         MEMORANDUM AND ORDER
                                                  )
                       Defendants.                )
                                                  )


       A communication dated February 18, 2010, has been received from the defendant,
requesting the communication be filed. Upon inquiry of the defendant’s counsel, the counsel
determined that the communication is confidential correspondence and asked that it not be filed.
A copy of that confidential correspondence is in the judge’s personal file but the communication
will not be filed as a court document.
       On the court’s own motion,
       IT IS ORDERED that the communication dated February 18, 2010, from the defendant,
of which a copy is in my personal file, shall not be filed in the court’s file without further court
order. The defendant’s counsel has the original of the communication.
       Dated March 8, 2010.

                                         BY THE COURT

                                         s/ Warren K. Urbom
                                         United States Senior District Judge
